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UNITED STATES DISTRICT COURT BOC » OO MELY Fi Rp
SOUTHERN DISTRICT OF NEW YORK DATE peice
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VIRGINIA GIUFFRE, oe SG

   

 

Plaintiff
’ 15 Civ. 7433 (LAP)

-against-
ORDER

 

GHISLAINE MAXWELL,

Defendant.

 

 

LORETTA A. PRESKA, Senior United States District Judge:

It is hereby ordered that:

1. Counsel shall confer and inform the Court by letter no
later than November 12 of the motions that were decided
in this case (by docket number) together with the docket
numbers of the motion papers associated with each such
motion.

2. Counsel shall confer and inform the court by letter
under seal no later than November 19 of the names and, if
known, contact information of-any non-parties mentioned
in the motion papers listed in paragraph one.

3. Counsel shall confer and inform the Court by letter no
later than November 19 of any material in the motion
papers listed in paragraph one that should not be
unsealed and the reason therefore.

4, Counsel shall submit letters of no more than five double-
spaced pages in 12-point type, text and footnotes, no

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later than November 12 informing the Court of their views
of the effect of a motion’s being undecided on whether
the motion papers are or are not a judicial document.

5. To the extent that the parties disagree on items three or
four, the party favoring sealing shall submit its letter
on November 19, and the party opposing sealing shall
submit its letter on November 26.

SO ORDERED.

Dated: New York, New York
October #8 , 2019

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LORETTA A. PRESKA
Senior United States District Judge

 
